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§r;;gb 35 Report and Order Terminating Probation/
( 8) Supervised Release
Prior to Original Expiration Date

United States District Court
FOR THB

WESTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMER.ICA

 

V.

Lawanda Kay Cooper

Crim. No. 2:04CR20332

On September 10, 2001 the above named was placed on Supervised Release for a period of 3 years. She
has complied with the rules and regulations of Supervised Release and is no longer in need of Supervision. It is

accordingly recommended that she be discharged from Supervised Release.

Respectfdlly submitted,

U.S. Probation O%cer

ORDER OF TI'IE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and

that the proceedings in the case be terminated.

Dated this g day of C$€(*T) ' , ZOQ§.

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nited States District Judge

 

T‘nis document entered on the docket enact in '_‘.omp|iance
Wét'ri F~iu|e f nmi/or 32('3) FHCrP on _ '“ ”

 

  
 

UNITED SAsTE DISTRIC COURT - WETRSE DISTRICT TENNESSEE

  
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CR-20332 Was distributed by faX, mail, or direct printing on
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Terrell L. Harris

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Honorable J on McCalla
US DISTRICT COURT

